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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


----------------------------------------------------------------x
                                                                :
In re:                                                          :       Chapter 11
                                                                :
WESTINGHOUSE ELECTRIC COMPANY                                   :
LLC, et al.,                                                    :       Case No. 17-10751 (MEW)
                                                                :
                  Debtors. 1                                    :       (Jointly Administered)
                                                                :
----------------------------------------------------------------x


                   AFFIDAVIT OF LISA STURIALE IN SUPPORT OF
             THE ORDINARY COURSE RETENTION OF DELOITTE TAX LLP
                  AS TAX SERVICES PROVIDER TO THE DEBTORS

        I, Lisa Sturiale, under penalty of perjury, declares as follows:

        1.       I am a partner of the firm of Deloitte Tax LLP (“Deloitte Tax”), which has an

office at One PPG Place, Suite 2600, Pittsburgh, Pennsylvania 15222. I make this declaration

pursuant to the Order Authorizing Employment of Professionals Utilized in the Ordinary Course

of Business Pursuant to Sections 327, 328, 330, and 105(a) of the Bankruptcy Code [Docket No.

543] (the “OCP Order”). 2 Pursuant to the terms of the OCP Order, the above-captioned debtors


1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, if any, are: Westinghouse Electric Company LLC (0933); CE Nuclear Power International, Inc. (8833);
    Fauske and Associates LLC (8538); Field Services, LLC (2550); Nuclear Technology Solutions LLC (1921);
    PaR Nuclear Holding Co., Inc. (7944); PaR Nuclear, Inc. (6586); PCI Energy Services LLC (9100); Shaw
    Global Services, LLC (0436); Shaw Nuclear Services, Inc. (6250); Stone & Webster Asia Inc. (1348); Stone &
    Webster Construction Inc. (1673); Stone & Webster International Inc. (1586); Stone & Webster Services LLC
    (5448); Toshiba Nuclear Energy Holdings (UK) Limited (N/A); TSB Nuclear Energy Services Inc. (2348);
    WEC Carolina Energy Solutions, Inc. (8735); WEC Carolina Energy Solutions, LLC (2002); WEC Engineering
    Services Inc. (6759); WEC Equipment & Machining Solutions, LLC (3135); WEC Specialty LLC (N/A); WEC
    Welding and Machining, LLC (8771); WECTEC Contractors Inc. (4168); WECTEC Global Project Services
    Inc. (8572); WECTEC LLC (6222); WECTEC Staffing Services LLC (4135); Westinghouse Energy Systems
    LLC (0328); Westinghouse Industry Products International Company LLC (3909); Westinghouse International
    Technology LLC (N/A); and Westinghouse Technology Licensing Company LLC (5961). The Debtors’
    principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.

2   The OCP Order lists Deloitte Tax as a Tier 1 Ordinary Course Professional (as such term is defined in the OCP
    Order).
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and debtors in possession (collectively, the “Debtors”) seek to retain Deloitte Tax to provide the

tax services set forth herein.

        2.      The Debtors seek to retain Deloitte Tax pursuant to the terms and conditions set

forth in (i) that certain work order, dated June 1, 2015, to provide tax services relating to VAT

registration in Slovenia (the “VAT Work Order”); (ii) that certain work order, effective as of

May 1, 2016, to provide certain tax advisory services relating to the Debtors’ research and

development activities and expenditures with respect to the year ended March 31, 2016 (the

“2016 R&D Work Order”); (iii) that certain work order, effective as of May 1, 2017, to provide

certain tax advisory services relating to the Debtors’ research and development activities and

expenditures with respect to the year ended March 31, 2017 (the “2017 R&D Work Order”)

(each of the work orders being issued under and pursuant to the terms of that certain master

services agreement between the parties, dated April 28, 2011, as amended on April 3, 2014 and

further amended on June 14, 2017, for the provision of professional services (the “MSA” and,

together with the R&D Work Order and the VAT Work Order, the “Engagement Agreements”)).

        3.      The statements set forth in this Declaration are based upon my personal

knowledge, information and belief, and client matter records kept in the ordinary course of

business that were reviewed by me or other personnel of Deloitte Tax or its affiliates.

                                   Deloitte Tax’s Qualifications

        4.      Deloitte Tax is professional services firm with offices across the United States.

Deloitte Tax has significant experience performing valuation services and has performed such

services in large and complex chapter 11 cases on behalf of debtors throughout the United States.

Such experience renders Deloitte Tax well-qualified and able to provide services to the Debtors

during the pendency of these chapter 11 cases (the “Chapter 11 Cases”) in a cost-effective,

efficient, and timely manner. Deloitte Tax’s services fulfill an important need and are not


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provided by any of the Debtors’ other professionals.

       5. Since approximately August 2011, Deloitte Tax has provided various professional

services to the Debtors. In providing such prepetition professional services to the Debtors,

Deloitte Tax has become familiar with the Debtors and their financial affairs, debt structure,

business operations, and related matters.      Having worked with the Debtors’ management,

Deloitte Tax has developed relevant experience and knowledge regarding the Debtors that will

assist it in providing effective and efficient services during the Chapter 11 Cases. Accordingly,

Deloitte Tax is both well-qualified and able to provide the services for the Debtors during the

Chapter 11 Cases in an efficient and timely manner.

                                        Disinterestedness

       6.      Subject to the foregoing, except as set forth herein and in the attachments hereto,

to the best of my information, knowledge, and belief based on reasonable inquiry: (a) neither I,

Deloitte Tax, nor any partner, principal, or managing director of Deloitte Tax that is anticipated

to provide the services for which Deloitte Tax is to be retained (the “Engagement

Partners/Principals/Managing Directors”) holds any interest adverse to the Debtors; and (b)

Deloitte Tax and the Engagement Partners/Principals/Managing Directors have no relationship to

the Debtors, their significant creditors, certain other significant parties-in-interest, or to the

attorneys that are known to be assisting the Debtors in the Chapter 11 Cases, except as stated

herein or in any attachment hereto.

       7.       From time to time, Deloitte Tax and its affiliates have provided or may currently

provide services, and likely will continue to provide services, to certain creditors of the Debtors

and various other parties potentially adverse to the Debtors in matters unrelated to the Chapter 11

Cases, except as set forth herein or in the attachments hereto.




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        8.     In connection with its proposed retention by the Debtors, Deloitte Tax undertook

a search to determine and to disclose whether it or its affiliates, is or has been employed by, or

have any relationships with the entities (the “Potential Parties-in-Interest”), whose specific

names were provided to Deloitte Tax by the Debtors. To check upon and disclose possible

relationships with significant Potential Parties-in-Interest in the Chapter 11 Cases, Deloitte Tax

researched its client databases and performed reasonable due diligence to determine whether it or

its affiliates had any relationships with the Debtors or the significant Potential Parties-in-Interest.

        9.     Deloitte Tax and its affiliates have relationships with thousands of clients, some

of which may be creditors of the Debtors or other parties-in-interest. Accordingly, Deloitte Tax

and/or its affiliates have had, currently have and/or may have in the future banking or other

relationships with such parties, or provided, may currently provide, and/or may provide in the

future professional services to certain of these parties in matters unrelated to the Chapter 11

Cases. Additionally, certain significant Potential Parties-in-Interest have or may have provided

goods or services, may currently provide goods or services, and/or may in the future provide

goods    or   services   to    Deloitte   Tax    and/or    its   affiliates   and   the   Engagement

Partners/Principals/Managing Directors in matters unrelated to the Chapter 11 Cases. A listing

of such parties is attached to this Declaration as Exhibit 1.

        10.    Deloitte Tax believes that the relationships described herein or reflected on

Exhibit 1 have no bearing on the services for which Deloitte Tax’s retention is being sought by

the Debtors in then Chapter 11 Cases. Furthermore, such relationships do not impair Deloitte

Tax’s disinterestedness, and Deloitte Tax does not represent an adverse interest in connection

with the Chapter 11 Cases.




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       11.     Despite the efforts described above to identify and disclose Deloitte Tax’s

connections with the significant Potential Parties-in-Interest in the Chapter 11 Cases, because

Deloitte Tax is a nationwide firm with many employees, Deloitte Tax is unable to state with

certainty that every client relationship or other connection has been disclosed. In this regard, if

Deloitte Tax discovers additional material information that it determines requires disclosure, it

will file a supplemental disclosure promptly with the Court.

       12.     To the best of my knowledge, based on the internal search discussed above,

Deloitte Tax has determined that certain relationships should be disclosed as follows:

               a. Deloitte Tax and/or its affiliates provide services in matters unrelated to the
                  Chapter 11 Cases to certain of the Debtors’ largest unsecured creditors and
                  other Potential Parties-in-Interest or their affiliates listed on Exhibit 1.

               b. Law firms identified on Exhibit 1, including Jones Day LLP, Kilpatrick
                  Townsend & Stockton LLP, Latham & Watkins LLP, Ogletree, Deakins,
                  Nash, Smoak & Stewart, P.C., Parker, Poe, Adams & Bernstein LLP, Paul,
                  Weiss, Rifkind & Garrison LLP, Proskauer Rose LLP, Reed Smith LLP,
                  Seyfarth Shaw LLP, Rinaldi, Finkelstein & Franklin, LLC, Shearman &
                  Sterling LLP, Skadden, Arps, Slate, Meagher & Flom LLP, Wachtell, Lipton,
                  Rosen & Katz LLP, Weil, Gotshal & Manges LLP, have provided, currently
                  provide and may in the future provide legal services to Deloitte Tax or its
                  affiliates in matters unrelated to the Chapter 11 Cases, and/or Deloitte Tax or
                  its affiliates have provided, currently provide and may in the future provide
                  services to such firms or their clients.

               c. In the ordinary course of its business, Deloitte Tax and its affiliates have
                  business relationships in unrelated matters with its principal competitors,
                  which together with their affiliates may be Potential Parties-in-Interest in the
                  Chapter 11 Cases. For example, from time to time, Deloitte Tax and one or
                  more of such entities may work on assignments for the same client or may
                  otherwise engage each other for various purposes.

               d. Certain financial institutions or their respective affiliates (including AIG;
                  Allianz Global Corporate & Specialty SE; Citibank, N.A.; ING Bank N.V.;
                  JPMorgan Chase Bank, N.A.; Insurance Company of the State of
                  Pennsylvania; Lloyd’s Syndicate; MB Financial Bank, N.A.; Metropolitan
                  Life Insurance Co.; National Union Fire Insurance, et al.; Teachers Insurance
                  and Annuity Association of America; U.S. Bank; and Wells Fargo Bank,
                  N.A.) listed on Exhibit 1 (i) are lenders to an affiliate of Deloitte Tax (Deloitte
                  Tax is a guarantor of such indebtedness) and/or (ii) have financed a portion of


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                     the capital and/or capital loan requirements of various partners and principals,
                     respectively, of Deloitte Tax and its affiliates.

                 e. Certain Potential Parties-in-Interest may be adverse to and/or involved in
                    litigation matters with Deloitte Tax or its affiliates in connection with matters
                    unrelated to the Chapter 11 Cases.

                 f. Certain firms around the world, including affiliates of Deloitte Tax, are
                    members of Deloitte Touche Tohmatsu Limited (“DTTL”), a United Kingdom
                    company limited by guaranty. Certain of the non-US member firms of DTTL
                    or their affiliates (the “DTT Member Firms”) have provided, currently provide
                    or may in the future provide professional services to certain of the Debtors or
                    their affiliates. 3 In particular, the DTT Member Firm in India (“Deloitte
                    India”) performed tax services for certain of the Debtors.

                 g. I understand that the DTT Member Firm in Japan and/or its affiliates
                    (“Deloitte Japan”) has in the past provided, is currently providing and is
                    expected in the future to provide, services for Toshiba Corporation
                    (“Toshiba”), the parent entity of the Debtors, in matters unrelated to these
                    chapter 11 cases. In addition, prior to the Petition Date, I understand that
                    Deloitte Japan provided services for Toshiba related to a potential
                    restructuring of the Debtors; however, these services were completed prior to
                    the Petition Date.

                 h. Deloitte Tax and/or its affiliates have provided and currently provide services
                    to Toshiba and its affiliates in matters unrelated to these Chapter 11 Cases.

                 i. Deloitte Tax and/or its affiliates have provided and continue to provide
                    services to SCANA Corporation (“SCANA”) and Southern Company
                    Services, Inc. (“Southern”), who are members of the official committee of
                    unsecured creditors, in matters unrelated to these Chapter 11 Cases, including,
                    in the case of Deloitte & Touche LLP (“Deloitte & Touche”), an affiliate of
                    Deloitte Tax, acting as their independent auditor. However, in its capacity as
                    independent auditor, Deloitte & Touche is providing ordinary course auditing
                    services and conducting typical audit procedures arising from SCANA’s and
                    Southern’s contractual arrangement with the Debtors.




3   Each of the DTT Member firms is a separate and independent legal entity. It is not Deloitte Tax’s practice to
    undertake conflicts checks with DTT Member Firms for the purpose of identifying relationships that they may
    have with the Debtors and other parties-in-interest and Deloitte Tax does not maintain a database for the
    purpose of identifying all such relationships.



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           j. Deloitte & Touche has provided and continues to provide audit services to
              certain clients and/or their affiliates in matters unrelated to these Chapter 11
              Cases. In its capacity as independent auditor, Deloitte & Touche also
              provides such clients with ordinary course accounting advice and conducts
              typical audit procedures that may arise from such clients’ business
              arrangements with the Debtors.

           k. Deloitte Tax and/or its affiliates have provided royalty compliance services
              for a client assessing amounts that the Debtors may owe under a license
              arrangement; however, these services were completed prior to the Petition
              Date.

           l. Deloitte Tax and certain of its affiliates, including Deloitte Financial Advisory
              Services LLP (“Deloitte FAS”) and Deloitte & Touche, have provided,
              continue to provide and may in the future provide services to Apollo Global
              Management, LLC and certain of its subsidiaries (collectively, “Apollo”) in
              matters unrelated to these cases. Certain funds managed by Apollo are the
              DIP lender to the Debtors, and Deloitte & Touche and certain of its affiliates
              may provide ordinary course accounting or tax services for Apollo that may
              have a relationship to certain of their managed funds’ investments respecting
              the Debtors. Also, among other services, Deloitte & Touche acts as the
              independent auditor for a number of entities either currently or formerly
              owned by funds managed by Apollo or its principals.

           m. Deloitte FAS and/or certain of its affiliates have provided and continue to
              provide services for Chicago Bridge & Iron (“CB&I”) in matters unrelated to
              the Chapter 11 Cases. In 2012 and 2013, Deloitte FAS and its affiliates also
              provided due diligence services in connection with CB&I’s acquisition of
              Shaw Group, Inc., including valuation services performed in connection with
              certain construction contracts, including those that were subsequently sold or
              otherwise transferred to the Debtors, as such related to the purchase price
              allocation reflected in CB&I’s post-acquisition balance sheet.

           n. In connection with a prospective engagement that did not go forward,
              personnel of Deloitte Transactions and Business Analytics (“DTBA”)
              provided some preliminary thoughts on how the team would approach such an
              engagement, which related to matters that would have involved the Debtors
              had the engagement been undertaken.

           o. Deloitte & Touche was approved as independent auditors for Energy Future
              Holdings Corp. and certain of its affiliates in their chapter 11 cases, in matters
              unrelated to these Chapter 11 Cases.

           p. Deloitte FAS and/or certain of its affiliates provides financial advisory
              services to the Pension Benefit Guaranty Corporation (the “PBGC”). The
              Debtors and their pension plans are not the subject of these services for the
              PBGC.


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               q. Deloitte Consulting LLP (“Deloitte Consulting”), an affiliate of Deloitte Tax,
                  and certain of its affiliates, have provided and will continue to provide
                  services to the Executive Office of the United States Trustee in matters
                  unrelated to the Chapter 11 Cases.

        13.    Furthermore, through reasonable inquiry, I do not believe there is any connection

between the personnel of Deloitte Tax or its affiliates who are anticipated to provide services to

the Debtors and the United States Bankruptcy Judge presiding in the Chapter 11 Cases, the U.S.

Trustee, the Assistant United States Trustee for the Southern District of New York, and the

attorney therefor assigned to the Chapter 11 Cases.

        14.    Except as may be disclosed herein, to the best of my knowledge, information, and

belief, Deloitte Tax and the Engagement Partners/Principals/Managing Directors do not hold or

represent any interest adverse to the Debtors, and I believe that Deloitte Tax and the Engagement

Partners/Principals/Managing Directors are “disinterested persons” as that term is defined in

section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy

Code.

                                       Scope of Services

        15.    As set forth more fully in the Engagement Agreements, Deloitte Tax has agreed to

provide professional services for the Debtors in accordance with the terms and conditions set

forth in the Engagement Agreements, and as requested by the Debtors and agreed to by Deloitte

Tax:

        a)     Performing services pursuant to the 2016 R&D Work Order, which is expected to
               consist of:

               i.    Assisting the Debtors in gathering and organizing information necessary to
                     identify, quantify and substantiate research and development (“R&D”)
                     activities and expenditures meeting the requirements of Internal Revenue Code
                     (“IRC”) Section 41;




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           ii.       Accumulating cost accounting records necessary to quantify the qualified
                     R&D activities on a project-by-project basis where it is possible to
                     accumulate information to allocate the Debtors’ expenditures to projects;

           iii.      Preparing a product development lifecycle document, methodology
                     memorandum, and project description matrix intended to demonstrate how the
                     Debtors’ R&D activities meet the requirements for qualification as research
                     under IRC Section 41, which may involve interviewing certain of the Debtors’
                     personnel;

           iv.       Collecting and organizing contemporaneous documentation and compile such
                     information in a matrix designed to demonstrate the relevance of the
                     documentation to the qualified research activities; and

            v.       Analyzing the components of the computation of the Debtors’ base amount for
                     the year ended March 31, 2016 pursuant to the Alternative Simplified Credit
                     rules. Deloitte Tax will prepare the base period calculations and gather the
                     information regarding the computation in accordance with the requirements of
                     IRC Section 41.

      b)    Performing services pursuant to the 2017 R&D Work Order, which is expected to
            consist of:

               i.    Assisting the Debtors in gathering and organizing information necessary to
                     identify, quantify and substantiate R&D activities and expenditures meeting the
                     requirements of IRC Section 41;

           ii.       Accumulating cost accounting records necessary to quantify the qualified
                     R&D activities on a project-by-project basis where it is possible to
                     accumulate information to allocate the Debtors’ expenditures to projects;

           iii.      Preparing a product development lifecycle document, methodology
                     memorandum, and project description matrix intended to demonstrate how the
                     Debtors’ R&D activities meet the requirements for qualification as research
                     under IRC Section 41, which may involve interviewing certain of the Debtors’
                     personnel;

           iv.       Collecting and organizing contemporaneous documentation and compile such
                     information in a matrix designed to demonstrate the relevance of the
                     documentation to the qualified research activities; and

            v.       Analyzing the components of the computation of the Debtors’ base amount for
                     the year ended March 31, 2017 pursuant to the Alternative Simplified Credit
                     rules. Deloitte Tax will prepare the base period calculations and gather the
                     information regarding the computation in accordance with the requirements of
                     IRC Section 41.




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        c)      Performing services pursuant to the VAT Work Order, 4 which is expected to consist
                of providing the Debtors with VAT compliance services, which include:

                 i.    Assisting the Debtors in gathering relevant documentation necessary to
                       provide VAT compliance services;

                ii.    Analyzing documents provided by the Debtors for compliance with
                       Slovenian VAT regulations;

               iii.    Analyzing VAT rates and amounts per transaction;

                iv.    Assisting the Debtors with their preparation of the VAT ledgers based on
                       the data and documents provided, in accordance with the Slovenian VAT
                       legislation; and

                v.     Assisting the Debtors with VAT compliance information, i.e., analyzing
                       correspondence including comments and issues identified during Deloitte
                       Tax’s analysis and list of pending corrections.

        16.     In order to perform certain services under the VAT Work Order, Deloitte Tax has

engaged, as a subcontractor, the DTT Member Firm in Slovenia (“Deloitte Slovenia”) under the

terms of the VAT Work Order. As discussed below, Deloitte Tax pays Deloitte Slovenia a

portion of the fixed fees Deloitte Tax bills and receives from the Debtors for services Deloitte

Tax has subcontracted to Deloitte Slovenia pursuant to the terms and conditions of the VAT

Work Order. It is my understanding that, in addition to these services, Deloitte Slovenia has

entered into a separate engagement agreement with the Debtors for related services, and that

Deloitte Slovenia will be submitting a separate retention application and declaration to seek

approval of its engagement by the Debtors.

        17.     Subject to this Court’s approval of the Application, Deloitte Tax is willing to

serve as the Debtors’ valuation and discovery services provider and to perform the services

described above under the terms of the Engagement Agreements.



4   The VAT registration services that are described in the VAT Work Order were completed prior to the Petition
    Date and are non-recurring services.



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        18.      The services performed by Deloitte Tax will not duplicate or unnecessarily

overlap with the other services performed by the Debtors’ other retained consultants and

advisors. 5 Deloitte Tax understands that the Debtors have retained and may retain additional

professionals during the term of each of the Engagement Agreements, and Deloitte Tax agrees to

work cooperatively with the Debtors to avoid unnecessary duplication of services.

        19.      Deloitte Tax respectfully requests that its retention be made effective nunc pro

tunc to the Petition Date so that Deloitte Tax may be compensated for the professional services it

has provided before the Application is heard by the Court. Deloitte Tax has provided services to

the Debtors in advance of approval of this Application in anticipation that its retention would be

approved nunc pro tunc to the Petition Date. Deloitte Tax submits that these circumstances are

of a nature warranting retroactive approval.

                                       Professional Compensation

        20.      Deloitte Tax’s retention by the Debtors is conditioned upon its ability to be

retained in accordance with its terms and conditions of employment, including the proposed

compensation arrangements set forth in the Engagement Agreements.

        21.      Pursuant to the terms of the 2016 R&D Work Order and the 2017 R&D Work

Order, Deloitte Tax agreed to charge the Debtors a fixed rate of $210 per hour (inclusive of

travel and other reasonable and actual out-of-pocket expenses) for professional services

rendered. The Debtors and Deloitte Tax agree that fees for Internal Revenue Service and/or state

examination support services will be in addition to the aforementioned fees, and will be billed

monthly at the rate of $250 per hour (inclusive of travel and other reasonable and actual out-of-

5   Jeffrey Egertson, a retired partner of Deloitte & Touche, is working with Deloitte FAS and providing certain
    dispute consulting services for the Debtors. It is my understanding that Mr. Egertson has a separate agreement
    with the Debtors that provides that he will bill them directly for any professional services rendered to the
    Debtors.



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pocket expenses).

          22.      Pursuant to the terms of the VAT Work Order, Deloitte Tax and the Debtors

agreed to a fixed fee arrangement for the tax services performed. For VAT compliance services,

Deloitte Tax pays Deloitte Slovenia, as a subcontractor, a portion of the fixed fees, set forth in

the table below, that Deloitte Tax bills to the Debtors for services Deloitte Slovenia, as a

subcontractor, performs under the VAT Work Order.


                            Task                                             Billing Rates 6
                                                               •   Nil VAT return:              EUR 500
                                                               •   VAT returns including up to
    Preparation and submission of monthly VAT returns,             25 source documents or based
    including the preparation of VAT ledgers and review            on ERP reports:              EUR 1,000
    of invoices                                                •   VAT returns including more
                                                                   than 25 source documents:    EUR 1,000
    Preparation and submission of monthly intrastate           •   Nil return:                  EUR 250
    returns (if applicable), separately for arrival and        •   Up to 50 items:              EUR 500
    dispatch returns                                           •   Above 50 items:              EUR 750


          23.      Hourly rates are revised periodically in the ordinary course of Deloitte Tax’s

business. Deloitte Tax shall advise the Debtors of any new rates should it institute a rate-change

during the Chapter 11 Cases. Such changes will be noted on the invoices for the first time period

in which a revised rate becomes effective.

          24.      Deloitte Tax will maintain records in support of any fees incurred in connection

with the services it performs in the Chapter 11 Cases by category and nature of the services

rendered, and will provide reasonably detailed descriptions of those services rendered on behalf

of the Debtors, the time expended in provided those services, and the individuals who provided

professional services on behalf of the Debtors. Deloitte Tax requests that the invoices, after

6     Given that ongoing VAT compliance services will be performed by Deloitte Slovenia and in light of the
      variation of the exchange rate between USD and EUR, the VAT Work Order sets forth the monthly fixed fees
      for VAT compliance services in Euros.



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appropriate review, be paid in a manner consistent with the payment of other retained

professionals in this matter

       25.     Prior to the Petition Date, Deloitte Tax provided professional services to the

Debtors. In the ninety (90) days prior to the Petition Date, the Debtors paid Deloitte Tax $9,022

for services performed. As of the Petition Date, $3,119 was outstanding with respect to the

invoice(s) issued by Deloitte Tax. It is my understanding that Deloitte Tax will not seek any

recovery on account of such invoice(s) issued by Deloitte Tax.

       26.     Deloitte FAS and DTBA provided prepetition services to the Debtors. In the

ninety (90) days prior to the Petition Date, the Debtors paid Deloitte FAS $2,291,566, including

the application of retainer amounts, and DTBA $628,399. As of the Petition Date, no amounts

were outstanding with respect to the invoices issued by DTBA, and $196,978 was outstanding

with respect to the invoices issued and/or work performed by Deloitte FAS.

       27.     Prior to the Petition Date, Deloitte Consulting provided certain professional

services to the Debtors. In the ninety (90) days prior to the Petition Date, the Debtors did not

make any payments to Deloitte Consulting.             As of the Petition Date, no amounts were

outstanding with respect to the invoices issued by Deloitte Consulting.

       28.     Some services incidental to the tasks to be performed by Deloitte Tax in the

Chapter 11 Cases may be performed by personnel now employed by or associated with affiliates

of Deloitte Tax, such as Deloitte FAS, DTBA, Deloitte & Touche, and Deloitte Consulting, or

their respective subsidiaries, including subsidiaries located outside of the United States.

       29.     Deloitte Tax has received no promises regarding compensation in the Chapter 11

Cases other than in accordance with the Bankruptcy Code and as set forth in this Declaration.

Deloitte Tax has no agreement with any nonaffiliated or unrelated entity to share any




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compensation earned in the Chapter 11 Cases.


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                                             Exhibit 1

Potential parties-in-interest or their affiliates for whom Deloitte Tax or its affiliates has provided
or is currently providing services in matters unrelated to the Chapter 11 Cases, except as set forth
above, or with whom such parties have other relationships, including banking relationships.
 1st Constitution Bank
 ABB AB
 Accenture LLP
 ACE
 ACE/Westchester
 Aecon Industrial
 Aetna Inc.
 AIG
 Air Products & Chemicals Inc.
 Airgas Inc.
 Alabama Power Company
 Alabama, State of
 Alaska, State of - Corporations Business & Professional Licensing
 ALCOSAN
 AlixPartners, LLP
 Allegheny Power
 Allianz Global Corporate & Specialty SE
 Allied Waste Services
 Alvarez & Marsal Holdings, LLC
 Amec Foster Wheeler Nuclear UK Ltd.
 Amec Foster Wheeler PLC
 Ameren Missouri
 American Casualty Co. of Reading
 American Electric Power
 American Equipment Co.
 American Home Assurance Co.
 American Nuclear Insurers (ANI)
 Amlin Corporate Insurance
 Amundi Absolute Return Apollo Fund PLC
 Ansaldo
 AON Hewitt
 Apollo Investment Corporation
 AREVA
 Ariba, Inc.
 Aricent US, Inc.


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 Arizona Public Service Company
 Arizona, State of
 Arkansas, State of
 Armstrong
 AT&T
 ATI Specialty Alloys Components
 Atkins
 Avaya
 AXIS Insurance Company
 Babcock & Wilcox Nuclear Energy Inc.
 Backoffice Associates
 Baker Concrete Construction Inc.
 Banco Santander
 Bank of China
 Bank of Taiwan
 Bank of Tokyo-Mitsubishi UFJ, Ltd.
 Basler Electric
 Battelle Memorial Institute
 Bayerische Hypo- und Vereinsbank AG
 BC&I Stone & Webster, Inc.
 Beacon Health Options
 Ben Franklin Design & Mfg. Co. Inc.
 Berkeley Research Group, LLC (Toshiba Advisors)
 Bishop, James E.
 Blackbox
 Blanchard Machinery Co.
 BMO Harris Bank N.A.
 BNP Paribas
 Board of Water, Light and Sinking Fund Commissioners
 BP Energy CO.
 Brenntag
 Bruce Power
 Burns, John W.
 BWXT Nog Technologies Inc.
 Cable USA Inc.
 California, State of
 Cameco Corporation
 Cameron Measurement Systems
 Canberra Industries Inc.



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 Cartus Formally Cendant Mobility
 Cascade Natural Gas
 CA-The Concourse Limited Partnership
 CB&I Contractors, Inc.
 CBS Corporation
 CDW Computer Centers, Inc.
 Century Link - Voice - Ogden
 Ceradyne Inc.
 CEZ, A. S.
 CH2MHill Plateau Remediation Company
 Chattanooga Gas
 Chicago Bridge & Iron Company (Delaware)
 Chicago Bridge & Iron Company, N.V.
 China Telecom Beijing Co.
 China Unicom Beijing Co.
 Chromalox
 Cigna Corp.
 Citibank, N.A.
 Citizens of Georgia Power
 City of Aurora, Tax Licensing Division
 City of Chicago Department of Finance
 City of Dalton, Georgia, The
 City of Mobile Alabama Tax Collector
 City of New Orleans - Sales Tax Division
 Clean Harbors Environmental Svcs.
 CNA Surety
 Colorado Department of Revenue
 Comcast Corporation
 ComEd
 Computershare Inc.
 ConEd (Consolidated Edison)
 Connecticut Secretary of State Document Review
 Consolidated Communications
 Constellation Energy Nuclear Group
 Santee Cooper
 Corey, Nina A.
 Crane Nuclear Inc.
 Crawford & Co.
 CSC Computer Sciences Corp.



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 CSC Consulting Inc.
 Curtiss Wright
 Cvc Nominees Ltd.
 CVS Caremark
 Daikin Applied Americas Inc.
 Delaware Dept. of State
 Department of Energy
 Deutsche Bank AG
 DHI.DHW Group Co. LTD
 DirecTv
 DirecTv Sports Net Pittsburgh LLC
 Dominion
 Doosan Babcock Ltd
 DRS Consolidated Controls Inc.
 Ducera Partners (SCANA Advisors)
 Duke Energy
 Duquesne Light Company
 E.ON Generation GmbH
 Eagle Technologies Group
 Earthlink Business
 Eaton Corporation
 EDF - Ceidre
 Emerson Industrial
 Emirates Nuclear Energy Corporation
 EnBW Energie Baden-Württemberg AG
 Energy & Process Corporation
 Energy Northwest
 Energy Solutions Government Group, Inc.
 Energy Steel & Co.
 Energy Steel And Supply Co
 Enersys Delaware Inc.
 ENGIE
 Entergy
 EPM - Fisher Controls Intl Inc.
 EPRI (Electric Power Research Institute)
 Erie Insurance
 ESKOM
 EvapTech
 Eversource



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 Exelon Business Services Co.
 Fairbanks Morse Engine, a division of Coltec Industries, Inc.
 Fairpoint Communications
 Federal Communications Commission
 Federal Insurance Company (CHUBB)
 Fifth Third Equipment Finance Company
 First Communications
 FirstEnergy
 Fisher & Phillips, LLP
 Fleet Bank-NH
 Florida Department of Revenue
 Florida Power & Light Company (FPL)
 Florida, State of - Department of Revenue
 Flowserve
 Fluor Corp.
 FPL Energy Point Beach, LLC
 Fragomen, Del Rey, Bernsen, & Loewy
 Framatome
 Freedom Specialty
 Frontier Communications
 Frontier Technology Corp
 Fujitsu Services Limited
 GE Canada
 GE Hitachi Nuclear Energy
 Gemeinschaftskraftwerk Weser GmbH & Co.
 General Cable Industries Inc.
 General Electric Company
 Georgia Power Company
 Georgia, State of
 Georgia, State of - Department of Revenue
 Gerdau Ameristeel US Inc.
 Global Nuclear Fuel - Japan Co. Ltd.
 Gowlings/Marsh Canada Limited
 Graftech International Holdings, Inc.
 Granite Properties
 Graver Technologies LLC
 Gray Plant Mooty
 Graybar Electric Co Inc.
 Great America Financial Services Corporation



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 Gregg Protection Services
 Gutor Electronics, LLC
 Hagemeyer North America, Inc.
 Hawaii State of, - Department of Taxation
 Hendrickx
 Hitachi-GE Nuclear Energy Ltd.
 Honeywell Inc.
 Hudson Americas LLC
 Iberdrola Generacion S.A.U.
 IBM Credit LLC
 Idaho Secretary of State Business Registration Division
 IHI Corporation
 Illinois Secretary of State
 Indiana Michigan Power Company
 Indiana Secretary of State
 ING Bank N.V.
 Insurance Company of the State of Pennsylvania, The
 Intergraph
 International SOS Travel Assistance
 Intertek Iberica Spain SLU
 Iowa Department of Revenue
 ITT Cannon Veam Italia S.R.L.
 Ivy Apollo Multi Asset Income Fund
 IX WR 3735 Glen Lake Drive, L.P.
 JBG/Commercial Management, L.L.C.
 Jones Day LLP
 Jones Lang LaSalle Americas, Inc.
 JPMorgan Chase Bank, N.A.
 Kansai Electric Power Company, Inc., The
 Kansas City Power & Light Company
 Kansas Gas and Electric Company
 Kansas Secretary of State
 Kema-Powertest LLC
 Kennametal Deutschland GmbH
 Kentucky Secretary of State, Office of
 KEPCO
 Kernkraftwerk Brokdorf GmbH & Co. oHG
 Kilpatrick Townsend & Stockton, LLP
 KSB Aktiengesellschaft



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 Kurtzman Carson Consultants LLC
 Larsen & Toubro
 Latham & Watkins LLP
 Lazard
 Leidos Engineering LLC
 Level 3 Communications LLC
 Lewis, Mark B.
 Liberty Mutual Insurance Company
 Lincoln Electric Company
 Lloyd’s Syndicate
 LMT Div. Curtiss-Wright Flow Control
 Louisiana Secretary of State
 Louisiana, State of - Department of Revenue
 Lynx Technology Partners Inc.
 Maine Depart. of the Secretary of State –Div. of Corporations Reporting & Information
 Section
 Marsh GmbH
 Martin Marietta Aggregates
 Maryland, State of
 Maryland, State of - Comptroller
 Massachusetts Department of Revenue
 MB Financial Bank, N.A.
 Mecklenburg County Tax Collector (NC)
 Meggitt France
 Memphis (TN), City of, Treasurer
 Merrill Lynch
 Metal Improvement Co. LLC
 Metropolitan Council
 Metropolitan District, The
 Metropolitan Life Insurance Co.
 Michigan Department of Natural Resources (MDNR)
 Michigan Department of Treasury
 Michigan, State of
 Midcap Financial Trust
 Milbank, Tweed, Hadley & McCloy LLP
 Ministerio De Hacienda Y Administraciones Publicas
 Ministry of Economy, UAE
 Minnesota Life Insurance Company
 Minnesota, State of – Dept. of Revenue



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 Mirion Technologies
 Missouri Department of Natural Resources
 Mistras Group Inc.
 Mitsubishi Corporation
 Mitsui
 Mizuho (USA) Leasing & Finance Corporation
 Montana Secretary of State’s Office
 Munich Re
 NASA
 National Union Fire Insurance Company (AIG)
 National Union Fire Insurance, et. al
 Navitas Lease Corp.
 Nebraska Public Power District
 Nebraska Secretary of State
 Nevada Secretary of State Commercial Recordings Division
 New Hampshire Secretary of State
 New Jersey State of - Department of the Treasury, Division of Taxation
 New Mexico Secretary of State, Office of
 New York State Department of State
 Newport News Industrial Corp.
 Nextera Energy Point Beach, LLC
 Nextira One LLC d/b/a Black Box
 Nichols, Daniel
 Nicor Gas
 North Carolina Department of Revenue
 North Carolina Mecklenburg County
 North Carolina, State of
 Northeast Utilities Service Company
 Northern States Power Company
 Nova Machine Products Corp.
 Nuclear Fuel Services Inc.
 Nuclear Management Company, LLC
 Nuclear Power Institute of China
 Nuclear Regulatory Commission (NRC)
 NuGen
 NYC Department of Finance
 Obayashi Corp.
 Oglethorpe Power Company
 Ogletree, Deakins, Nash, Smoak & Stewart, PC


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 Ohio Department of Taxation
 OKG AB
 Oklahoma Secretary of State
 Omaha Public Power District
 OneBeacon Insurance Company
 Ontario Power Generation (OPG)
 Oracle
 Oregon, State of
 Pacific Gas and Electric Company (PG&E)
 Pall Gmbh
 Palmetto Health
 Parker Hannifin AB
 Parker Poe Adams & Bernstein LLP
 Paul, Weiss Rifkind & Garrison LLP
 PCC Structurals
 PCI Energy Services LLC
 Peerless Manufacturing Co
 Penn Power (Firstenergy of PA)
 Pennsylvania Power and Light Company
 Pennsylvania, Commonwealth of
 Pension Benefit Guaranty Corporation
 Peoples Natural Gas
 Personal Communications
 PJT Partners Inc.
 Plumbers & Pipefitters 562
 PNC Bank, National Association
 PreussenElektra GmbH - Kernkraftwerk Brokdorf
 Pricewaterhouse Coopers LLP
 Princeton Credit Corporation
 Progress Energy Carolinas, Inc.
 Proskauer Rose LLP
 PSEG Nuclear LLC
 Public Service and Gas Company
 Putzmeister America Inc.
 PWR Owner's Group
 Questar Gas
 Ramsey County (MN)
 Reed Smith LLP
 Republic Services



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 Rhode Island Department of State -Secretary of State
 Rinaldi, Finkelstein & Franklin, LLC
 Rio Tinto Uranium
 Rocky Mountain Power
 Rolls Royce
 Rosemount Analytical Inc.
 Rothschild & Co.
 Royal and Sun Alliance Insurance PLC
 Royal Bank of Scotland PLC (the)
 RSCC Wire & Cable LLC
 RWE
 Ryerson
 San Diego Gas & Electric Company
 Sandvik SMT EMEA AB
 Santa Clara County Tax Collector
 SAP America Inc.
 Sargent & Lundy
 SC State Ports Authority
 Scana Energy Marketing
 Scientech, a Business Unit of Curtiss
 Seyfarth Shaw LLP
 SGL Carbon Gmbh
 Shaw Constructors Group, Inc.
 Shearman & Sterling LLP
 Siemens AB
 Skadden, Arps, Slate, Meagher & Flom LLP (Toshiba Advisors)
 Skandinaviska Enskilda Banken AB (publ)
 SKODA JS A.S.
 SMBC
 Solvay Fluorides LLC
 Sompo Japan Insurance Company of America
 South Carolina Department of Health and Environment Control
 South Carolina Electric & Gas Company
 South Dakota Secretary of State
 South Texas Nuclear Operating Company
 Southern California Edison Company
 Southern Company Services, Inc.
 Southern Nuclear Company
 Spok Inc.



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 Sprint
 SPX Corp Copes Vulcan Operation
 St. Charles Parish School Board Sales and Use Tax Department (Louisiana)
 STARS Alliance
 Starwood Capital
 State Power Investment Corporation
 Steadfast Insurance Company
 Sulzer Chemtech Ltd.
 Sumitomo Corporation Europe Limited
 SWAGELOK
 System Energy Resources, Inc.
 TV Saarland Bildung
 Taff, Michael S.
 Teachers Insurance and Annuity Association of America
 Tengizchevroil
 Tennessee Valley Authority
 Tennessee, State Board of Equalization
 Texas Comptroller of Public Accounts
 Texas Utilities Electric Company
 Time Warner
 T-Mobile
 Toshiba Corporation
 Toshiba Corporation Power Systems Company
 Transcanada
 Transport Logistics International
 Tronox Speciality Alkali Corp.
 Turner Construction Company
 TXU Electric
 U S Customs
 U.S Fish & Wildlife Service
 U.S. Army Corps of Engineers
 U.S. Bank
 U.S. Coast Guard
 U.S. Customs and Border Protection
 U.S. Department of Energy
 U.S. Department of Health & Human Services
 U.S. Department of Transportation
 U.S. Environmental Protection Agency
 U.S. Federal Aviation Administration



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 U.S. Nuclear Regulatory Commission
 U.S. Specialty Insurance Company (HCC)
 Ultra Electronics Limited
 UniCredit
 Uniper Anlagenservice GmbH
 United Rentals
 United States - Department of the Treasury – IRS
 United States Attorney’s Office for the District of Delaware
 United States Attorney’s Office for the Southern District of New York
 United States Department of Energy (DOE)
 United States Enrichment Corporation
 Unitil
 Uranium One Inc.
 US - Department of Defense (DOD)
 US - Department of Health and Human Services (HHS)
 US - Department of Transportation (DOT)
 US - Environmental Protection Agency (EPA)
 US - Internal Revenue Service
 US - Occupational Safety and Health Administration (OSHA)
 US Bank Transportation Solutions
 US Ecology Idaho, Inc.
 US Security Associates Inc.
 Utah, State of
 UT-Battelle, LLC
 Vattenfall AB
 Verizon
 Vermont Secretary of State
 Vigor
 Virginia Electric & Power Company, d/b/a Dominion Virginia Power
 Virginia State Corporation Commission
 Vistra Energy (Luminant)
 Wachs Energy Services Company
 Wachtell, Lipton, Rosen & Katz
 Walter Davis
 Washington, State of
 Waste Management North
 Watlow Electric Mfg Co.
 Weed Instrument d/b/a Ultra Electronics
 Weil, Gotshal & Manges LLP



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 Wells Fargo Bank, N.A.
 Western Surety Company
 Westinghouse Electric Company (Delaware) LLC
 Williams Scotsman Inc.
 Wisconsin Electric Power Company
 Wisconsin Public Service Corporation
 Wolf Creek Nuclear
 Wyoming Secretary of State
 Xcel Energy
 Zetec Inc. (FR) – Struers
 ZionSolutions
 Zurich American Insurance Company




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                   :
                                                        :     Chapter 11
WESTINGHOUSE ELECTRIC                                   :
COMPANY LLC, et al.,                                    :     Case No. 17-10751 (MEW)
                                                        :
                             1
                  Debtors.                              :     (Jointly Administered)
--------------------------------------------------------x

                                    RETENTION QUESTIONNAIRE

TO BE COMPLETED BY PROFESSIONALS EMPLOYED by Westinghouse Electric
Company LLC and its affiliates, as debtors and debtors in possession in the above-captioned
chapter 11 cases (collectively, the “Debtors”).

DO NOT FILE THIS QUESTIONNAIRE WITH THE COURT.
RETURN IT FOR FILING BY THE DEBTORS

        Weil, Gotshal & Manges LLP
        767 Fifth Avenue
        New York, NY 10153
        Attn: Robert J. Lemons, Esq. & Stephanie N. Morrison, Esq.

All questions must be answered. Please use “none,” “not applicable,” or “N/A,” as appropriate.
If more space is needed, please complete on a separate page and attach.

1.      Name and Address of firm:

        Deloitte Tax LLP
        One PPG Place, Suite 2600
        Pittsburgh, Pennsylvania 15222


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, if any, are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833),
Fauske and Associates LLC (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR
Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global
Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster
Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448),
Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina
Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc.
(6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and
Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572),
WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328),
Westinghouse Industry Products International Company LLC (3909), Westinghouse International Technology LLC
(N/A), and Westinghouse Technology Licensing Company LLC (5961). The Debtors’ principal offices are located
at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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2.    Date of retention:

      Deloitte Tax LLP (“Deloitte Tax”) is the Debtors’ longstanding tax advisor. The
      services referenced in Paragraph 3 commenced on or about April 28, 2011.

3.    Type of services to be provided:

      Deloitte Tax has provided and will continue to provide tax advisory services.

4.    Brief description of services to be provided:

      As more fully described in Paragraphs 15 through 19 of the Declaration of Lisa
      Sturiale in Support of the Ordinary Course Retention of Deloitte Tax LLP as Tax
      Services Provider to the Debtors (the “Declaration”) and the Engagement
      Agreements (as defined in the Declaration) between the Debtors and Deloitte Tax,
      Deloitte Tax will provide tax advisory services relating to the Debtors’ research and
      development activities and expenditures with respect to the years ended March 31,
      2016 and March 31, 2017, and tax services relating to VAT compliance in Slovenia.
      In order to perform certain services under the VAT Work Order (as defined in the
      Declaration), Deloitte Tax has engaged, as a subcontractor, the DTT Member Firm
      in Slovenia (“Deloitte Slovenia”) under the terms of the VAT Work Order. As
      discussed in the Declaration, Deloitte Tax pays Deloitte Slovenia a portion of the
      fixed fees Deloitte Tax bills and receives from the Debtors for services Deloitte Tax
      has subcontracted to Deloitte Slovenia pursuant to the terms and conditions of the
      VAT Work Order. It is my understanding that, in addition to these services,
      Deloitte Slovenia has entered into a separate engagement agreement with the
      Debtors for related services, and that Deloitte Slovenia will be submitting a separate
      retention application and declaration to seek approval of its engagement by the
      Debtors.

5.    Arrangements for compensation (hourly, contingent, etc.):

      Please refer to Paragraphs 20 through 24 of the Declaration.

      (a)    Average hourly rate (if applicable):

      Please refer to Paragraphs 21 and 22 of the Declaration.

      (b)    Estimated average monthly compensation based on prepetition retention (if
             company was employed prepetition):

      Deloitte Tax estimates that its average monthly compensation in the aggregate will
      be less than $25,000.

6.    Prepetition claims against the Debtors held by the company:




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      Amount of claim: $3,119.00

      Date claim arose: On or about March 24, 2017 and March 30, 2017.

      Nature of claim: Prepetition work related to the above-referenced services provided
      to the Debtors.

7.    Prepetition claims against the Debtors held individually by any member, associate, or
      professional employee of the company:

      Name: N/A.

     Status: No inquiries have been made in this regard with personnel of Deloitte Tax
     LLP.

     Amount of claim: N/A.

     Date claim arose: N/A.

     Nature of claim: N/A.

8.    Disclose the nature and provide a brief description of any interest adverse to the Debtors
      or to their estates for the matters on which the company is to be employed:

      Please refer to the Declaration of Lisa Sturiale.

9.    Name and title of individual completing this form:

      Lisa Sturiale.



Dated: July 20, 2017




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